
40 So.3d 127 (2010)
In re Joseph E. DUGAS, III.
No. 2010-OB-1689.
Supreme Court of Louisiana.
July 20, 2010.

ORDER
Considering the Joint Petition for Transfer to Disability Inactive Status,
IT IS ORDERED that Joseph E. Dugas, III, Louisiana Bar Roll number 16897, be and he hereby is transferred to disability inactive status. All disciplinary proceedings against respondent shall be deferred until such time as he resumes active status.
Pursuant to Supreme Court Rule XIX, § 26(E), this order shall be effective immediately.
FOR THE COURT:
Jeannette Theriot Knoll
Justice, Supreme Court of Louisiana
